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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :       Case No. 23-CR-143 (APM)
                                            :
           v.                               :
                                            :
MICHAEL DANIELE                             :
                                            :
                    Defendant.              :

                                GOVERNMENT EXHIBITS


                               000 SERIES – VIDEO MONTAGES


    No.                       Description                  Witness      Admitted?   Date


    001         USCP Montage with Radio Runs


    002         USSS Video with Radio Runs




                                   100 SERIES – USCP VIDEO


    No.         Description                                Witness      Admitted?   Date


    101         CCTV of Relocation of VP
                Pence.mp4


    102         USCP Camera 0944 West Front
                Time Lapse.mp4


    103         USCP Camera 0102 Senate Wing
                Door Clip 1.asf


    104         USCP Camera 0402 Crypt North.asf




                                                1
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105     USCP Camera 0102 Senate Wing
        Door Clip 2.asf


106


107


108


109


               200 SERIES – BODY WORN CAMERA (BWC)


No.                   Description          Witness     Admitted?   Date


201


202


203


204


205


                      300 SERIES – OPEN-SOURCE VIDEO


No.     Description                        Witness     Admitted?   Date


301     Blankenship Parler Video.mp4


302     Facebook_Overtonreport Video.mp4




                                    2
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303     LMS Tactical Video 1.mp4


304     LMS Tactical Video 2.mp4


305     LMS Tactical Video 3.mp4


306A    BENJAMIN REPORTS Clip 5.31-
        7.01.mp4


306B    BENJAMIN REPORTS Clip 6.48-
        7.01.mp4


307     Rehl Parler Video.mp4


308A    Emergency Washington DC
        Broadcast 17.18-19.52.mp4


308B    Emergency Washington DC
        Broadcast 19.35-19.52.mp4


309     ABQ Raw Video.mp4


310     Youtube Former Wagie Video.mp4


311     Youtube Th3Real Huckleberry.mp4


312     SavSays Parler Video


313     Clouse Facebook Video.mp4


314     Parler Video_West Plaza.mp4


315     Goldcrest Part 1 Video.mp4




                                      3
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316     Youtube Objective Witness
        Video.mp4


317     Access2Activism Video.mp4


318     Youtube Storyful Rights
        Management Video.mp4


319     Parler Video Inauguration
        Stage.mp4


320     YouTube Unframe of Mind
        Video.mp4


321     Kerns Facebook Video Clip.mp4


322     Youtube Buy GME Video.mp4


323     Youtube WKMG News 6
        ClickOrlando.mp4


324     Parler Video Under Scaffolding.mp4


325     Jayden X Video Clip


326     The New Yorker Youtube Clip.mp4


327     Youtube LA Times Video.mp4


328     Youtube Video_Near
        Scaffolding.mp4


329     Corey Video.mp4




                                    4
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  330         Reed Video.mp4


  331         Youtube Video Capitol Riots Raw
              Footage.mp4


  332         Vimeo Maginnes Production
              Video.mp4


  333         Harris Live 2 Video Clip.mp4


  334         Parler The Resistance.Video
              Clip.mp4


  335         Ochs Video.mp4


  336         Facebook Horn Video.mp4


  337         Williams Video Clip.mp4


  338         Four Hours at the Capitol Clip.mp4


 338A         Still from Four Hours at the Capitol


  339         WYSIWYG TV Live Video Clip


  340         Trump Rally Speech


                 400 SERIES – PHOTOGRAPHS, MAPS AND MODELS


No.      Description                                 Witness   Admitted?   Date

         Aerial View of U.S. Capitol Building
401




                                             5
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         Restricted Perimeter Map
402

         “Area Closed” Sign
403

         Capitol Grounds with “Area Closed” and
404      Fencing


405      Flickr Photo_Peace Circle.jpg


406      Flickr Photo 2_Peace Circle.jpg


407      Flickr Photo 3_Peace Circle.jpg


408      Instagram Photo_Peace Circle.jpg


409      Miguel Juarez Photo_Peace Circle.gif

         3D Model of U.S. Capitol Building – Top
410      Down

         3D Model of U.S. Capitol Building –
411      Northwest

         3D Model of U.S. Capitol Building –
412      West Front

         3D Model of U.S. Capitol Building –
413      Inaugural Stage Overhead

         3D Model of U.S. Capitol Building –
414      West Front Overhead


                      500 SERIES – INTERVIEW OF DEFENDANT


No.                    Description                 Witness   Admitted?   Date


501      Advice of Rights                          Semmel




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502      Video of Defendant’s Custodial Interview   Semmel


503


                                600 SERIES – DOCUMENTS


No.      Description                                Witness   Admitted?   Date


601      Congressional Record – Senate


602      Congressional Record – House


603      Senate Concurrent Resolution


604      Twelfth Amendment


605      3 U.S.C. § 15


606      3 U.S.C. § 16


607      3 U.S.C. § 17


608      3 U.S.C. § 18


609      House Video Certificate of Authenticity


610      Senate Video Certificate of Authenticity


611      January 5, 2021 Email from USSS
         Inspector Hawa re Head of State
         Notification




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612      Secret Service Head of State Notification
         Worksheet


613A     Safeway Email re: DC Closure


614B     Safeway Daily Sales Report


614C     PA Shipment


614D     Safeway Business Records Certification


615      NPR Transcript Of Trump's Speech At
         Rally Before Capitol Riot


                                   700 SERIES – OTHER


701


702


703


704


                               800 SERIES - STIPULATIONS


801      Stipulations




                                            8
